  4:01-cr-00239-RGK   Doc # 124   Filed: 09/15/05   Page 1 of 1 - Page ID # 82




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )           4:01CR239
                      Plaintiff,           )
                                           )
     vs.                                   )           ORDER
                                           )
KRISTIN D. WEIRICH,                        )
                                           )
                 Defendant.                )


    IT IS ORDERED that a revocation hearing is set to commence at

12:30 p.m. on November 4, 2005 before the Hon. Richard G. Kopf,

United States District Judge, in Courtroom #1, United States

Courthouse, Lincoln, Nebraska.


     Dated:   September 15, 2005.


                            BY THE COURT

                            s/ David L. Piester

                            David L. Piester
                            United States Magistrate Judge
